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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )              Criminal No. 1:19-cr-10141-LTS
                                                )
                                                )
SHELLEY M. RICHMOND JOSEPH                      )
and                                             )
WESLEY MACGREGOR                                )


  ASSENTED-TO MOTION BY DEFENDANT SHELLEY M. RICHMOND JOSEPH
 FOR LEAVE TO FILE MEMORANDUM IN EXCESS OF 20 PAGES (AND NO MORE
                  THAN 30 PAGES) IN SUPPORT OF HER
      FIRST SUPPLEMENTAL MOTION TO COMPEL EVIDENCE OF BIAS


       Defendant Shelley M. Richmond Joseph hereby moves this Court for leave under Local

Rule 7.1(b)(4) of the United States District Court for the District of Massachusetts to file a

memorandum in support of her First Supplemental Motion to Compel Evidence of Bias in excess

of 20 pages, to wit, no more than 30 pages. As support for this Motion, Judge Joseph states as

follows:

       1.         This prosecution is novel, and events post indictment have raised additional and

substantial issues. Addressing these issues requires Judge Joseph to present complex factual

material and complex legal arguments for the Court’s consideration.

       2.         Judge Joseph therefore makes this motion for additional pages so that she can

detail fully and with particularity the existence and relevance of the exculpatory evidence of bias

that she seeks.

       4.         The proposed supporting memorandum will not be more than 30 pages.

       5.         The government assents to Judge Joseph’s request to file a memorandum of not

more than 30 pages.
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       6.       Judge Joseph does not seek to inconvenience or burden the Court by this request

and believes that if leave is granted, it will allow her to submit the most complete arguments to

fully articulate her positions on the issues presented.


                                                          Respectfully submitted,


                                                          SHELLEY M. RICHMOND JOSEPH
                                                          /s/ Thomas M. Hoopes
                                                          THOMAS M. HOOPES, ESQ.
                                                          BBO No. 239340
                                                          /s/ Douglas S. Brooks
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                                                          /s/ Elizabeth N. Mulvey
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Dated: May 5, 2020

                       LOCAL RULES 7.1 and 112.1 CERTIFICATION

        I hereby certify that undersigned counsel has conferred with counsel for the United States
in a good-faith effort to resolve or narrow the issues raised by this Motion, and the United States
has assented to the relief requested herein.

                                                          /s/ Thomas M. Hoopes
                                                          Thomas M. Hoopes, Esq.
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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as non-participants on May 5, 2020.



                                                      /s/ Thomas M. Hoopes
                                                      Thomas M. Hoopes, Esq.
